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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK


 In re:                                                   Chapter 11 Case No.

 LEHMAN BROTHERS HOLDINGS INC., et al.                    08-13555 (JMP)

                        Debtors.                          (Jointly Administered)



          SUMMARY STATEMENT FOR FIFTH INTERIM FEE APPLICATION OF
            SUTHERLAND ASBILL & BRENNAN LLP AS SPECIAL COUNSEL
                    FOR DEBTORS FOR COMPENSATION FOR
           PROFESSIONAL SERVICES RENDERED AND REIMBURSEMENT OF
           ACTUAL AND NECESSARY OUT-OF-POCKET EXPENSES INCURRED

                               FIFTH INTERIM APPLICATION

 Name of Applicant:                 Sutherland Asbill & Brennan LLP

 Time Period:                       June 1,2011 through September 30, 2011

 Role in the Case:                   Special Tax Counsel to the Debtors

 Current Application:               Total Fees Requested:                 $ 96,002.00
                                    Total Expenses Requested:             $    202.90

 Prior Applications:                First Interim Application, August 13,2010
                                    Second Interim Application, December 14, 2010
                                    Third Interim Application, May 31, 2011
                                    Fourth Interim Application, August 15, 2011
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                      Professional Hours Billed During Interim Fee Period

                                   Partners and Of Counsel

                       Admission                       Total Hours     Hourly       Total Amount
 Timekeeper            Date         Position           Billed          Rate         Billed

 Byrne, Thomas             1981     Partner               12.4         480             5,952.00
 Fenichel, Eric            1986     Partner                1.5         660               990.00
 Libin, Jerome B.          1961     Partner               24.3         800            19,440.00
 Simonetti, Marc           2001     Partner               51.5         500            25,750.00
 Tresh, Eric               1995     Partner                3.8         580             2,204.00

                TOTAL:                                    93.5                      $ 54,336.00



                                          Associates

                       Admission                       Total Hours      Hourly      Total Amount
 Timekeeper            Date          Position           Billed          Rate        Billed

 Appleby, Andrew       2008          Associate            53.5         300            16,050.00
 Booth, Scott          2010          Associate            67.4         280            18,872.00
 Fersko, Seth          2010          Associate            28.1         240             6,744.00

                TOTAL:                                    149.0                     $ 41,666.00



                                   Summary of Professionals

 Professional Title           Blended Rate              Hours Billed         Total Compensation

 Partners and Of Counsel      $    581                       93.5               $ 54,336.00
 Associates                        279                      149.0                 41,666.00

                 TOTAL:       $    396                     242.5                $ 96,002.00




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         Professional Services Rendered by Project Category During Interim Fee Period

                                           Project         Hours
 Client Number          Matter Number      Category        Billed      Amount

 29779                  0003                Tax              38.2           26,382.00
 29779                  0013                Tax             164.1           56,522.00
 29779                  0016                Tax              40.2           13,098.00

                        TOTAL:                              242.5      $    96,002.00



                                        Project Detail

 Matter Number and Name          Project Category   Attorney Name    Total Hours          Amount

 29779-0003 - General            Tax                J. Libin               24.3           19,440.00
                                                    T. Byrne               12.4            5,952.00
                                                    E. Fenichel             1.5              990.00

 2779-0013 - New York City       Tax                M. Simonetti           43.2          21,600.00
             Audit Matter                           A. Appleby             53.5          16,050.00
                                                    S. Booth               67.4          18,872.00

 29779-0016 - New York           Tax                  M. Simonetti          8.3            4,150.00
              Real Property                           S. Fersko            28.1            6,744.00
              Transfer Tax                            E. Tresh              3.8            2,204.00


               TOTAL:                                                   242.5           $ 96,002.00




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                Out-or-Pocket Expenses Incurred During Interim Fee Period


 Travel: Ground Transportation     5118/11 - M. Simonetti Cab Fare          $   68.70
                                   to meeting at Lehman Brothers ($22.70)
                                   6/21111 - M. Simonetti - Parking at
                                   Lehman Brothers for Meeting ($23.00)
                                   6/28111 - M. Simonetti - Parking at
                                   Lehman Brothers for Meeting ($23.00)
 Photocopies: (1,342 pages)                                                     134.20

                      TOTAL:                                                $ 202.90




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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK


 In re:                                                       Chapter 11 Case No.

 LEHMAN BROTHERS HOLDINGS INC., et al.                        08-13555 (JMP)

                        Debtors.                              (Jointly Administered)




 FIFTH INTERIM FEE APPLICATION OF SUTHERLAND ASBILL & BRENNAN
 LLP, AS A SECTION 327(e) PROFESSIONAL, FOR ALLOWANCE OF
 COMPENSATION FOR SERVICES RENDERED AND FOR REIMBURSEMENT
 OF ACTUAL AND NECESSARY EXPENSES INCURRED DURING THE
 PERIOD FROM JUNE 1,2011 THROUGH SEPTEMBER 30,2011

          Sutherland Asbill & Brennan LLP ("Sutherland"), special tax counsel to Lehman

 Brothers Holdings Inc. ("LBHI") and its affiliated debtors in the above-referenced chapter 11

 cases (collectively, the "Debtors"), files its Fifth Interim Fee Application (the "Application")

 pursuant to sections 330(a) and 331 of title 11 of the United States Code (the "Bankruptcy

 Code") and Rule 2016 of the Federal Rules of Bankruptcy Procedure (the "Bankruptcy Rules"),

 seeking compensation for professional services rendered and the reimbursement of actual and

 necessary expenses incurred in connection with its representation of the Debtors during the

 period from June 1,2011 through September 30,2011 (the "Compensation Period"). In support

 of its Application, Sutherland respectfully states the following:

                                          JURISDICTION

          1.     This Court has jurisdiction to consider the Application pursuant to 28 U.S.c.

 sections 157 and 1334. Consideration of the Application is a core proceeding pursuant to 28

 U.S.c. section 157(b)(2). Venue of this case is proper in this district pursuant to 28 U.S.C.
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 sections 1408 and 1409. The statutory predicates for the relief requested herein are sections 330

 and 331 of the Bankruptcy Code.

                                   GENERAL BACKGROUND

           2.   Commencing on September 15,2008 and periodically thereafter (as applicable,

 the "Commencement Date"), LBHI and certain of its subsidiaries commenced with this Court

 voluntary cases under chapter 11 of the Bankruptcy Code. The Debtors' chapter 11 cases have

 been consolidated for procedural purposes only and are being jointly administered pursuant to

 Bankruptcy Rule 1015(b). The Debtors are authorized to operate their businesses and manage

 their properties as debtors in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy

 Code.

           3.   On September 17,2008, the United States Trustee for the Southern District of

 New York (the "U.S. Trustee") appointed the statutory committee of unsecured creditors

 pursuant to section 1102 of the Bankruptcy Code (the "Creditors' Committee").

           4.   On September 19,2008, a proceeding was commenced under the Securities

 Investor Protection Act of 1970 ("SIP A") with respect to Lehman Brothers Inc. ("LBI"). A

 trustee appointed under SIPA is administering LBI's estate.

           5.   On January 19,2009, the U.S. Trustee appointed Anton R. Valukas as examiner

 (the "Examiner") in the above-referenced chapter 11 cases and, by order dated January 20,2009

  [Docket No. 2583], the Court approved the U.S. Trustee's appointment of the Examiner.

           6.   On May 26,2009, the Court appointed a fee committee ("Fee Committee") and

 approved a fee protocol ("Fee Protocol") in the above-referenced chapter 11 cases. [Docket No.

  3651].




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        7.     Additional information regarding the Debtors' businesses, capital structures, and

 the circumstances leading to the commencement of these chapter 11 cases is contained in the

 Affidavit oflan T. Lowitt Pursuant to Rule 1007-2 of the Local Bankruptcy Rules for the

 Southern District of New York in Support of First-Day Motions and Applications, filed on

 September 15,2008 [Docket No.2].

                              RETENTION OF SUTHERLAND

        8.     Sutherland began performing legal services on behalf of the Debtors as an

 Ordinary Course Professional pursuant to this Court's Order Pursuant to Sections 105(a), 327,

 328, and 330 of the Bankruptcy Code Authorizing the Debtors to Employ Professionals Utilized

 in the Ordinary Course of Business, (the "OCP Order"), dated November 5, 2008 [Docket No.

 1394]. In accordance with the procedures set forth in the OCP Order, Sutherland's retention

 became effective as of July 11, 2009. [Docket No. 4259].

        9.      On April 23, 2010, the Debtors submitted to this Court an Application of the

 Debtors Pursuant to Section 327(a) of the Bankruptcy Code and Rule 2014 of the Federal Rules

 of Bankruptcy Procedure for Authorization to Employ and Retain Sutherland Asbill & Brennan

 LLP as Special Tax Counsel, Nunc Pro Tunc to April 1, 2010. On May 6, 2010, this Court

 entered an order granting the Debtors' application. [Docket No. 8864].

                   SUMMARY OF PROFESSIONAL COMPENSATION
                  AND REIMBURSEMENT OF EXPENSES REQUESTED

        10.     Sutherland has prepared this Application in accordance with the Amended

 Guidelines for Fees and Disbursements of Professionals in Southern District of New York

 Bankruptcy Cases, adopted by the Court on April 19, 1995 (the "Local Guidelines"); the United

 States Trustee Guidelines for Reviewing Applications for Compensation and Reimbursement of

 Expenses Filed Under 11 Us.c. section 330, adopted on January 30, 1996 (the "UST


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 Guidelines"); the Fourth Amended Order Pursuant to Sections J05(a) and 33J of the Bankruptcy

 Code and Bankruptcy Rule 20 J 6(a) Establishing Procedures for Interim Monthly Compensation

 and Reimbursement of Expenses of Professionals (the "Interim Compensation Order") [Docket

 No. 14968]; and this Court's Order Appointing Fee Committee and Approving Fee Protocol

 [Docket No. 3651], as amended on April 14, 2011 [Docket No. 14969] (the "Fee Protocol

 Order," and together with the Local Guidelines, the UST Guidelines, and the Interim

 Compensation Order, the "Guidelines"). Pursuant to the Local Guidelines, a certification

 regarding compliance with the Guidelines is annexed hereto as Exhibit A.

        11.    During the Compensation Period, Sutherland professionals expended a total of

 242.5 hours rendering services to the Debtors. Sutherland seeks the allowance of compensation

 for such services in the amount of $96,002.00 (of which $53,400.00 has been paid), and the

 approval of its reimbursement of actual and necessary expenses incurred in connection with such

 services in the amount of$202.90 (of which $173.90 has been paid).

        12.     Except as noted in paragraph 11, during the Compensation Period Sutherland has

 received no payment and no promises of payment from any source for services rendered or to be

 rendered in any capacity whatsoever in connection with the matters covered by this Application.

 There is no agreement or understanding between Sutherland and any other person for the sharing

 of compensation to be received for services rendered in these cases.

        13.     Sutherland's fees in these cases are billed in accordance with its billing rates and

 procedures as agreed upon with the Debtors and as in effect during the Compensation Period.

 The rates charged by Sutherland for the services rendered in these chapter 11 cases do not (and

 will not) exceed the rates Sutherland customarily charges for services rendered in comparable

 non-bankruptcy matters. Such fees, which resulted in a voluntary discount of $10,784 from



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 Sutherland's standard hourly charges during the Compensation Period, are reasonable based on

 the customary compensation charged by comparably skilled practitioners in comparable non-

 bankruptcy cases in a competitive national legal market.

        14.     Pursuant to the UST Guidelines, annexed hereto as Exhibit B is a schedule setting

 forth: (a) a list of all Sutherland professionals who have performed services in these chapter 11

 cases during the Compensation Period; (b) the capacities in which each such individual is

 employed by Sutherland; (c) the agreed-upon hourly rate charged by Sutherland for services

 performed by each such individual; (d) the total amount of time spent by each such individual on

 behalf of the Debtors during the Compensation Period; (e) the total amount billed for such time;

 and (f) the year in which each professional was first admitted to the bar.

         15.    Annexed hereto as Exhibit C is a schedule specifying the categories of expenses

 for which Sutherland is seeking reimbursement and the total amount of reimbursement requested

 for each such category.

         16     Pursuant to the UST Guidelines, annexed hereto as Exhibit D is a summary by

 project category of the services performed by Sutherland during the Compensation Period.

         17.    Sutherland has attempted to include in this Application all of its time and

 expenses relating to the Compensation Period. Sutherland reserves the right to request in a

 future application any additional time charges and expense amounts relating to services rendered

 during the Compensation Period that are not reflected in this Application.

         18.    Sutherland maintains computerized records of the time spent by all Sutherland

 professionals in connection with its representation of the Debtors. Subject to redaction for

 attorney-client privilege where necessary to protect the Debtors and their estates, a reformatted

 version of such computerized records for the Compensation Period is annexed hereto as Exhibit



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 E. A detailed explanation of Sutherland's disbursements for the Compensation Period is

 annexed hereto as Exhibit F.

                          SERVICES RENDERED BY SUTHERLAND
        19.     A summary description of the services rendered by Sutherland during the

 Compensation Period is set forth below:

                A.      Bankruptcy Tax Issues

        20.     Sutherland provided analysis and advice with respect to certain unsettled issues

 relating to the separate tax liability ofLBHI and LBI in the bankruptcy context.

                B.      New York City Tax Matters

        21.     Sutherland continued to advise LBHI with respect to its New York City tax audit

 matter. This matter is still pending.

                C.      Other Tax Advice

        22.     Sutherland advised LBHI on certain New York real property transfer tax issues.

                                  ALLOWANCE OF COMPENSATION

        23.     Section 331 of the Bankruptcy Code authorizes the bankruptcy court to allow the

 payment to section 327 professionals of "such compensation for services rendered ... or

 reimbursement for expenses incurred ... as is provided in section 330 .... "

        24.     Section 330(a)(1) of the Bankruptcy Code authorizes the payment of reasonable

 compensation to a section 327 professional for "actual, necessary services rendered" and

 reimbursement for "actual, necessary expenses."

        25.     Section 330(a)(3) of the Bankruptcy Code provides that in determining the

 amount of reasonable compensation to be awarded, the bankruptcy court should consider the




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 nature, extent and value of the services rendered to the estate, taking into account all relevant

 factors, including:

                (A)     the time spent on such services;

                (B)     the rates charged for such services;

                (C)     whether the services were necessary to the administration of, or
                        beneficial at the time at which the services was rendered toward
                        the completion of, a case under this title;

                (D)     whether the services were performed within a reasonable amount
                        of time commensurate with the complexity, importance, and nature
                        of the problem, issue, or task addressed;

                 (E)    with respect to a professional person, whether the person is board
                        certified or otherwise has demonstrated skill and experience in the
                        bankruptcy field; and

                 (F)    whether the compensation is reasonable, based on the customary
                        compensation charged by comparably skilled practitioners in cases
                        other than cases under this title.

 11 U.S.C. section 330(a)(3)(A)-(F).

         26.     As discussed further below, Sutherland believes that its services were necessary

 and beneficial to the Debtors and that its request for compensation is reasonable.

                 (A)    Time spent on services rendered

         27.     During the Compensation Period, Sutherland partners, of counsel and associates

 spent a total of242.5 hours providing the professional services requested by the Debtors.

 Exhibits Band D attached hereto show the time in summary form and by project category,

 respectively. In order to avoid any duplication of effort, Sutherland coordinated regularly with

 the LBHI tax team in providing its services.




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                (B)     Rates charged

        28.     During the Compensation Period, Sutherland's agreed-upon hourly billing rates

 ranged from $480 to $800 for partners, and from $240 to $300 for associates. Total fees billed

 for the Compensation Period were $96,002.00. Based on the total number of hours recorded, the

 overall blended hourly rate for all time expended was $396. No rate increases were implemented

 during the Compensation Period.

        29.     The amounts charged by Sutherland for the particular services rendered represent

 a voluntary discount of $1 0,784 from standard hourly rates for the same professionals. The

 hourly rates agreed upon with the Debtors for these chapter 11 cases are below the standard

 hourly rates Sutherland would charge for comparable work performed in a non-bankruptcy

 context.

        30.     Sutherland carefully monitored and reviewed the time entries of all professionals

 who worked on these chapter 11 cases during the Compensation Period in order to ensure the

 integrity of its bills and the reasonableness of its time charges.

                (C)     Necessity and benefit of the services

        31.     As has been the case since Sutherland was first retained as an Ordinary Course

 Professional, the specialized services rendered by Sutherland during the Compensation Period

 have provided the Debtors with a fresh and independent assessment of the strengths and

 weaknesses of certain tax positions the Debtors must defend in connection with the pending New

 York City tax audit. Such assessments have enabled the Debtors to determine their ultimate

 negotiating posture without concern that they have been too close to the transactions to develop

 an appropriately objective analysis of the situation. Sutherland has also provided effective

 research and analysis on certain other tax issues.



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                (D)    Reasonableness of time spent

          32.   The time spent by Sutherland professionals during the Compensation Period was

 reflective of, and commensurate with, the nature, complexity and importance of the matters

 being handled. The issues raised in the New York City tax audit are technical in nature and

 involve a substantial amount of money. In order to provide a meaningful, independent analysis

 of the tax audit issues, it has been necessary for Sutherland to devote a significant amount of

 time both to reviewing each issue carefully and to determining the issue's appropriate settlement

 value.

          33.   Sutherland has considerable experience in handling matters of this type. For that

 reason, it has been able to fulfill its assignments without an unreasonable expenditure of time,

 notwithstanding the complexity of the matters it has been asked to review.

                (E)     Board certification

          34.   There is no special board certification for tax lawyers. All of the Sutherland

 partners, of counsel and associates who worked on matters for the Debtors during the

 Compensation Period have been admitted to the bar in one or more jurisdictions.

                (F)     Reasonableness of the compensation requested

          35.   The Sutherland professionals involved in these chapter 11 cases have achieved a

 high degree of expertise in the tax field. That has enabled Sutherland to render high quality,

 efficient and timely service to the Debtors throughout the Compensation Period. Sutherland

 believes that its request for compensation is reasonable and that comparably skilled practitioners

 rendering similar services in a non-bankruptcy setting would be compensated at least at the same

 level, and more likely at a higher level due to the discount Sutherland has afforded the Debtors.




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                        REIMBURSEMENT OF EXPENSES

        36.     For the Compensation Period, Sutherland requests approval for the reimbursement

 of $202.90 in actual and necessary expenses incurred on behalf of the Debtors. Exhibit C

 attached hereto provides a summary of such expenses, and Exhibit F attached hereto sets forth

 the details relating to such expenses.

        37.     In accordance with the Fee Protocol, photocopying charges have been limited to

 10 cents per page. There were no charges for working meals during the Compensation Period.

        38.     Sutherland has made reasonable efforts to minimize its disbursements during the

 Compensation Period. Each of the expenses incurred was considered to be necessary, reasonable

 and justified under the circumstances.

         WHEREFORE, Sutherland respectfully requests that allowance be made to it for

 $96,002.00 as reasonable compensation for necessary professional services rendered to the

 Debtors during the Compensation Period, and that $202.90 be considered properly reimbursable

 to it for actual and necessary expenses incurring during the Compensation Period, and further

 requests such other relief as this Court may deem just and proper.



 December 14,2011                         SUTHERLAND ASBILL & BRENNAN LLP

                                                                            ,( -
                                          By:                              G{~

                                                I
                                                1275 Pennsylvania Ave., N.W.
                                                Washington, DC 20004
                                                Telephone: 202-383-0145
                                                Facsimile: 202-637-3593
                                                E-mail: jerome.libin@sutherland.com

                                                    Special Tax Counsel to the Debtors



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                                   EXHIBIT A

                     CERTIFICATION OF JEROME B. LIBIN
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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK




 In re:                                                     Chapter 11 Case No.

 LEHMAN BROTHERS HOLDINGS INC., et al.                      08-13555 (JMP)

                         Debtors.                           (Jointly Administered)




 CERTIFICATION UNDER GUIDELINES WITH RESPECT TO FIFTH INTERIM
 FEE APPLICATION OF SUTHERLAND ASBILL & BRENNAN LLP AS A
 SECTION 327(e) PROFESSIONAL, FOR ALLOWANCE OF COMPENSATION
 FOR SERVICES RENDERED AND FOR REIMBURSEMENT OF ACTUAL AND
 NECESSARY EXPENSES INCURRED DURING THE PERIOD FROM JUNE 1,2011
 THROUGH SEPTEMBER 30, 2011

          I, Jerome B. Libin, hereby certify that:

          1.     I am a partner with the applicant firm, Sutherland Asbill & Brennan LLP

 ("Sutherland"). I submit this certification in accordance with the Amended Guidelines for Fees

 and Disbursements of Professionals in Southern District ofNew York Bankruptcy Cases, adopted

 by the Court on April 19, 1995 (the "Local Guidelines"); the United States Trustee Guidelines

 for Reviewing Applications for Compensation and Reimbursement of Expenses Filed under 11
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 us.c. section 330, adopted on January 30,1996 (the "UST Guidelines"); this Court's Fourth
 Amended Order Pursuant to Sections 105(a) and 331 of the Bankruptcy Code and Bankruptcy

 Rule 2016(a) Establishing Procedures for Interim Monthly Compensation and Reimbursement of

 Expenses of Professionals [Docket No. 14968] (the "Interim Compensation Order"); and this

 Court's Order Appointing Fee Committee and Approving Fee Protocol [Docket No. 3651], as

 amended on April 14, 2011 [Docket No. 14969] (the "Fee Protocol Order," and together with the

 Local Guidelines, the UST Guidelines, and the Interim Compensation Order, the "Guidelines").

        2.     This certification is made with respect to Sutherland's application, dated

 December 14,2011 (the "Application"), for compensation and reimbursement of expenses for

 the period from June 1,2011 through September 30, 2011 (the "Compensation Period"), in

 accordance with the Guidelines.

        3.     With respect to Section B.1 of the Local Guidelines, I certify that:

               a.     I have read the Application;

               b.     to the best of my knowledge, information, and belief formed after
                      reasonable inquiry, the fees and expense reimbursements sought fall
                      within the Guidelines;

               c.      the fees and expense reimbursements sought are billed at rates not
                       exceeding those customarily charged by Sutherland and generally
                       accepted by Sutherland's clients; and

               d.      in providing a reimbursable service, Sutherland does not make a profit
                       on that service, whether the service is performed by Sutherland in-house
                       or through a third party.


        4.     With respect to Section B.2 of the Local Guidelines, I certify that the Notice

 Parties identified in the Interim Compensation Order were provided with a detailed statement of

 fees and expenses incurred for each of the months included in the Compensation Period.




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        5.      With respect to section B.3 of the Local Guidelines, I certify that the Notice

 Parties identified in the Interim Compensation Order are all being provided with a copy of this

 Application.




 December 14,2011                           ~\ti2\J~
                                           {; JefOllleB.  Libin

                                               SUTHERLAND ASBILL & BRENNAN LLP
                                               1275 Pennsylvania Ave., N.W.
                                               Washington, DC 20004
                                               Telephone: 202-383-0145
                                               Facsimile: 202-637-3593
                                               E-mail: jerome.libin@sutherland.com

                                               Special Tax Counsel to the Debtors




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                                        EXHIBITB

                    Professional Hours Billed During Interim Fee Period

                                  Partners and Of Counsel



                     Admission                  Total Hours     Hourly     Total Amount
 Timekeeper          Date         Position      Billed          Rate       Billed

 Byrne, Thomas           1981     Partner             12.4      480            5,952.00
 Fenichel, Eric          1986     Partner              1.5      660              990.00
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               TOTAL:                                 149.0                 $ 41,666.00
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                                       EXHIBITC

                Out-or-Pocket Expenses Incurred During Interim Fee Period


 Travel: Ground Transportation     5/18/11 - M. Simonetti Cab Fare          $   68.70
                                   to meeting at Lehman Brothers ($22.70)
                                   6/21/11 - M. Simonetti - Parking at
                                   Lehman Brothers for Meeting ($23.00)
                                   6/28/11 - M. Simonetti - Parking at
                                   Lehman Brothers for Meeting ($23.00)
 Photocopies: (1,342 pages)                                                     134.20

                      TOTAL:                                                $ 202.90
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                                         EXHIBITD

         Professional Services Rendered by Project Category During Interim Fee Period


                                           Project       Hours
 Client Number          Matter Number      Category      Billed       Amount

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                        TOTAL:                             242.5      $    96,002.00



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              Transfer Tax                          E. Tresh               3.8            2,204.00


               TOTAL:                                                  242.5           $ 96,002.00
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                                                                   EXHIBIT E-I


                                 Sutherland Fee SIN'8adsheet for Invoice No. 613380 for Matter 29779-0003
Invoice No.      Matter Number Date      Code      Name                          Hours     Amount Description
         613380 29779-0003      6/312011     1800 JB LlBIN                             0.5 $400.00 Telephone conference and reviewing of
Dated:                                                                                               redacted invoices per J. Ciongoli request.
August 2, 2011
                                                  BILLED TOTALS:                       0.5 $400.00
Sutherland                                        LESS 20% HOLDBACK                         ..$8000
Fees for                                                                                    $320.00
June 2011                                                   "
08-13555-mg   Doc 23314   Filed 12/14/11 Entered 12/14/11 13:07:17   Main Document
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                                    EXHIBIT E-2
08-13555-mg   Doc 23314   Filed 12/14/11 Entered 12/14/11 13:07:17   Main Document
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                                    EXHIBIT E-3
                      08-13555-mg            Doc 23314     Filed 12/14/11 Entered 12/14/11 13:07:17                Main Document
                                                                      Pg 25 of 47
                                                                     EXHIBIT E-4


                                       Sutherland Fee Spreadsheet for Invoice No. 613380 for Mattar No. 29779~16
  Invoice No.     Matter Numbel     Date      Code     Name I invoice Number     Houl'S    Amount                          Description
613380           29n9-0016        512012011      1800 ES TRESH                          1    $580.00 Work relative to real property transfer
Dated:                                                                                               issues' discussion with L. Klang.
Auaust 2, 2011
                 29n9-0016         61212011      1800 SAFERSKO                         0.5     $120.00 Researched of TSB-A-90(9)R per M.Sirnonetti.
Sutherland
Fees for June    29n9-0016        61212011       1800 ESTRESH                          0.8     $464.00 CaH regarding Real ProoertV Transfer Tax
2011                                                                                                   Matter.

                 29n9-0016        61212011       1800 MA SIMONETTI                     2.2   $1100.00 call with D. Steinberg, L. Klang regarding
                                                                                                      real Drooertv transfer tax matters (1.0);
                                                                                                      Review New York state law related to the real
                                                                                                      property transfer tax C. 7); Review the
                                                                                                      research related to the exception to the real
                                                                                                      property transfer tax (.5).

                 29779-0016       61212011       1800 SAFERSKO                         1.5     $360.00 Drafted summary of New York City bankruptcy
                                                                                                       exemDtiOn from Real Property Transfer Tax.

                 29n9-0016        61212011       1800 SAFERSKO                           2     $480.00 Draft Memorandum re bankruptcy exemption.

                 29n9-0016        61212011       1800 SAFERSKO                         0.4      $96.00 Conferred with E.Tresh and M.Simonetti
                                                                                                       IreaardillQ follow-up on conference call
                                                                                                        discussion and research on New York city
                                                                                                        bankruptcy exemDtion from Real Property
                                                                                                       Transfer Tax.

                 29n9-0016        61212011      1800 SAFERSKO                          0.4      $96.00 Conference call with D.Steinberg and L.K1ang
                                                                                                       of Lehman Holdings and E.Tresh and
                                                                                                       M.Sirnonetti of Sutherland regarding New York
                                                                                                       State bankruptcy exemDtion from Real Property
                                                                                                       Transfer Tax.

                 29779-0016       61212011      1800 SAFERSKO                          0.5    $120.00 Assembled research binder for federal New
                                                                                                      York State and New York City bankruptcy
                                                                                                      exemDtions exemotions per M.Sirnonetti.

                 29n9-0016        61212011      1800 SAFERSKO                          2.5    $600.00 Researched the New York City bankruptcy
                                                                                                      exemption from Real Property Transfer Tax.
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                                               Pg 26 of 47
                                              EXHIBIT E-5



29n9-0016    61612011       1800 MA SIMONETII            1.8   $900.00 Call with D. Steinberg and L. Klang regarding
                                                                       state real property transfer tax matters
                                                                      1(.9): Review research related to NYS/NYC real
                                                                       property transfer tax (.9)

29n9-0016    61712011       1800 MA SIMONETII            1.1   $550.00 Reviewing real,,,,, "'..... iJ transfer tax NYS/NYC.

29n9-0016   6/1412011       1800 SA FERSKO               0.3     $72.00 Correspondence with M.Simonetti regarding
                                                                        follow-up research on the New York City
                                                                        bankruptcy exemption from Real Property
                                                                        Transfer Tax.

29n9-0016   6/1512011       1800 SAFERSKO                3.6   $864.00 Researched pre-Piccadilly case law
                                                                       interpreting Title 19 of New York City
                                                                       Regulation 23-03(Jl(8}.

29n9-0016   6/1512011       1800 SAFERSKO               0.3     $72.00 Conferred with M.Simonetti regarding
                                                                       follow-up research on the New York City                .

                                                                       bankruptcy exemption from Real Property
                                                                       Transfer Tax.

29n9-0016   6/1512011      1800 SAFERSKO                3.6    $864.00 Researched the Bankruptcy listing for the New
                                                                       York City Law and regulations.

29n9-0016   6/1612011      1800 SAFERSKO                0.5    $120.00 Drafted summary of research results for
                                                                       E.Tresh.

29n9-0016   611612011      1800 SAFERSKO                1.5    $360.00 Researched pre-Piccadilly case law
                                                                       interpreting Title 19 of New York City
                                                                       Regulation 23-03(Jl(8).

29n9-0016   611812011      1800 SAFERSKO                2.1    $504.00 Revised summary memorandum based on E. Tresh
                                                                       comments.

29n9-0016   6/1812011      1800 MA SIMONETII            1.8    $900.00 Reviewing the NYC treatment of real"" "' ..... i]
                                                                       transfer tax matter

29n9-0016   6/1812011      1800 SAFERSKO                1.4    $336.00 Drafted summary of research on pre-Piccadilly
                                                                       case law for the New York City bankruptcy
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                                               EXHIBIT E-6


                                                                          exemption from Real Property Transfer Tax for
                                                                          E.Tresh.

29nS-0016    6/1912011       1800 SAFERSKO                1.5   $360.00 Finalized summary of research on
                                                                       [pre-Piccadilly case law for the New York City
                                                                        bankruptcy exemption from Real Property
                                                                        Transfer Tax for E.Tresh.

29nS-0016    612012011       1800 SAFERSKO                1.2   $288.00 Revised research summary.

29nS-0016    612012011       1800 SAFERSKO                0.5   $120.00 Conferred with M.Simonetti regarding
                                                                        follow-up research on pre-Piccadilly case law.

29nS-0016    612012011       1800 SA FERSKO               1.6   $384.00 Researched legislation history for the New
                                                                        York City law.

29nS-0016    612012011      1800 MA SIMONETTI             1.4   $700.00 Reviewing NYC real property transfer tax
                                                                        issues (.8): communication with client (.6) .
                                                            .
29n9-0016    612012011      1800 ESTRESH                   1    $580.00 Review of legal analysis related to New York
                                                                        City and New York State real property
                                                                        transfer issues.

29nS-0016    612012011      1800 ESTRESH                   1    $580.00 Conference call with Lehman Brothers (Unda
                                                                         Klang) regarding New York City and New York
                                                                       . State real property transfer issues.

29nS-0016    612012011      1800 SAFERSKO                2.2    $528.00 Researched various issues for M.Simonetti
                                                                        !regarding pre-Piccadilly case law.

                                 BILLED TOTALS:         40.2 $13098.00
                                 MINUS 20% HOLDBACK          -52.619.60
  -~
                                                             $10478.40
                            08-13555-mg          Doc 23314   Filed 12/14/11 Entered 12/14/11 13:07:17          Main Document
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                                                                       EXHIBIT E-7

                                      Sutherland Spreadsheet for Invoice No. 616400: Fees for Matter 29779-0003
    Invoice No.      Matter Number    Date      Code          Name          Hours       Amount                          Description
616400
Dated:               29779-0003      7/1212011      4600 JB LlBIN              0.20         $160.00 Reviewing draft Stipulation re: Second
August 31, 2011                                                                                     Interim Fee Application.

Sutherland                                               TOTAL:                             $160.00
Fees for July 2011                                       Minus 20% Holdback                 -$32.00
                                                                         I                  $128.00
                          08-13555-mg       Doc 23314      Filed 12/14/11 Entered 12/14/11 13:07:17                  Main Document
                                                                     Pg 29 of 47
                                                                     EXHIBIT E-8


                                     Suthertand Spreadsheet for Invoice No. 616400: Fees for Matter 29n9-OO13
    Invoice No.      Matter Number    Date     Code          Name          Hours       Amount                        DescrIption
616400               2977~13         7/112011     1800 MA SIMONETTI            0.50         $250.00 Review NYC research related to
Dated:                                                                                               characterization of                (.5).
August 31, 2011
                     29779-0013      7/112011     1800 MA SIMONETTI           0.70          $350.00 Review additional research related to    new NYC
Suther1and                                                                                          tax treatment of           ~
                                                                                                                                   (.7).
Fees for July 2011
                     29779-0013      7/112011     1800 MA SIMONETTI           1.00          $500.00 Discuss w. A. Apple~the outline of NYC
                                                                                                    analysis of the treatment of income from
                                                                                                     financ~'transactions(1.0).


                     29779-0013      7/112011     1800 AD APPLEBY             1.80          $540.00 Review NYS analysis to compare NYS and NYC
                                                                                                    differences (0.3); review NYC audit
                                                                                                    workpapers and proof of claim (0.6); discuss
                                                                                                    strategy of research and dellverables for the
                                                                                                    NYC corporate income tax analysis with M.
                                                                                                    Simonetti (0.9).

                     2977~13         71512011     1800 AD APPLEBY             3.80        $1,140.00 Review NYS analysis to contrast NYS and NYC
                                                                                                    differences (3.6); discuss strategy of
                                                                                                    research and deliverables with M. Simonetti
                                                                                                   1(0.2).

                     29779-0013      71512011     1800 MA SIMONETTI           0.20         $100.00 Discuss NYC research     w. A. Appleby.


                     29779-0013      71612011     1800 AD APPLEBY             5.90        $1,770.00 Review NYS analysis to identify NYC
                                                                                                    differences 12.6.1.. research NYC tax law
                                                                                                    addressi
                                                                                                   ~raft'lid. dock _ i n g NYC
                                                                                                          . (0.4).
08-13555-mg   Doc 23314   Filed 12/14/11 Entered 12/14/11 13:07:17   Main Document
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                                    EXHIBIT E-9
08-13555-mg   Doc 23314   Filed 12/14/11 Entered 12/14/11 13:07:17   Main Document
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                                    EXHIBIT E-IO
                     08-13555-mg             Doc 23314         Filed 12/14/11 Entered 12/14/11 13:07:17      Main Document
                                                                         Pg 32 of 47
                                                                        EXHIBIT E-11

                                  Suthertand Spreadsheet for Invoice No. 617330 - Matter No. 29n9-OOO3
     Invoice #    Matter Number    Date     Code            Name             Hours      Amount                   Descrtptlon
617330            29779-0003    8/1112011     4600 JB lIBIN                       2.5 $2,000.00 Review and preparation of Fourth Interim Fee
                                                                                                  Application.
Dated:
l~mber19,2011     29779-0003            8/1212011          4600 JB lIBIN                1.5   $1,200.00 Review andpreparation of Fourth Interim Fee
                                                                                                        Application.
Sutherland Fees
August 2011       29779-0003        8/1912011              4600 JB lIBIN                1.4   $1,120.00 Drafting response to Fee Committee Report re:
                                                                                                        Third Interim Fee Application.
Matter Name:
General           29779-0003        8/1912011              1800 JB lIBIN                0.3    $240.00 Telephone conference with Darryl Steinberg
                                                                                                       re: _possible State tax issue in pending
                                                                                                       disposition.

                  29779-0003        812912011              4600 JB lIBIN                0.4    $320.00 Billing - Reviewing Proformas.

                                                                Total Invoice:          6.1   $4,880.00
                                                                Less 20% Holdback              -$976.00
                                .   -               L __                                      $3,904.00             - _ _-_ _ - - -
                                                                                                                           ....   ..
08-13555-mg   Doc 23314   Filed 12/14/11 Entered 12/14/11 13:07:17   Main Document
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                                   EXHIBIT E-12




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08-13555-mg   Doc 23314   Filed 12/14/11 Entered 12/14/11 13:07:17   Main Document
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                                    EXHIBIT E-13
08-13555-mg   Doc 23314   Filed 12/14/11 Entered 12/14/11 13:07:17   Main Document
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                                   EXHIBIT E-14
              08-13555-mg     Doc 23314   Filed 12/14/11 Entered 12/14/11 13:07:17                 Main Document
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                                                   EXHIBIT E-15



             129ns-0013   1812312011   1800ISA BOOTH              1.21 S    336.00 IUDdate ODen issues and Questions document to
                                                                                      lconnrm
                                                                                           with LBHI and M. Slmo~3} i
                                                                                       editing   NYC audit memo; update 0 n
                                                                                       issues/questions to confirm with LBHI with
                                                                                       resoect to treatment .nd_.~me
                                                                                                     investment a,


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                                                                                                 .


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                                                                                                 X:               . ,u'
                                                                                                    communicating wit! M. Simol

                                                                                       memo and outstandina auestions to ask
                                                                                      ILBHIl.4t

             129n9-0013   1812912011   1800lSA BOOTH              6.2 $ 1 736.00




             29nS-0013     813012011   1800 SA BOOTH              2.4 $    672.00




                                                                                      ILBHI to connrm.

             129nS-0013   1813012011   1800lMA SIMONEnl           1.11 S   550.00 1Review NYC analYsis of the cnaracrenzanor1
                                                                                      lof income (1 . 1).
                                          1Total Invoice         81 .51 S?~ n~? nn
                                          IMinus 20% Hold Back       1 S (4.810.401
                                                                      S 11.241.80
08-13555-mg   Doc 23314   Filed 12/14/11 Entered 12/14/11 13:07:17   Main Document
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                                    EXHIBIT E-16




                                                      -
             08-13555-mg   Doc 23314     Filed 12/14/11 Entered 12/14/11 13:07:17            Main Document
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                                                   EXHIBIT E-17


    29n9-0003         912712011   1800 TM BYRNE         0.9 $    432.00 Analysis of parent sub allocation Question'
                                                                         review of Bankruptcy Code proviSions
    29n9-0003         912712011   1800 JB UBIN          0.6 $    480.00 Telephone conference with J. Ciongoli, B.
                                                                         Brier et at (Lehman) and T. Byrne
                                                                        I(Sutheriand) re: priority claim issue
                                                                         relating to tax liability__

    29n9-0003         912712011   1800 JB LIBIN         0.4 $    320.00 Discussing priority claim issue analysis with
                                                                         T.B~ne(Sutherland).


    29n9-0003         912712011   1800 JBUBIN           1.5 $ 1,200.00 Reviewing Authorities re: priority claim
                                                                       issue relating to tax liability.

    29n9-0003         912812011   1800 JB UBIN          4.6 $ 3680.00 Reviewing Authorities relating to prloljh'
                                                                      claim issue - Bankruptcy StaMes - Tax
                                                                      Regulations - cases.

    29n9-0003         912812011   1800 JB UBIN          0.4 $    320.00 Discussing priority claim issue with T. Byrne
                                                                        (Sutherland).

    29n9-0003         912812011   1800 TM BYRNE           1 $    480.00 Review J. Ubin memo re tax allocation reg
                                                                        and related analysis

    29n9-0003         912812011   1800 TMBYRNE          0.4 $    192.00 Memo to J. Libin re contribution

    29n9-0003         912812011   1800 TM BYRNE         0.2 $     96.00 Memo to J. Ubin re prepetition tax liability    I
                                                                                                                        I


    29n9-0003         912812011   1800 TM BYRNE         1.5 $    720.00 Research case law re corporate group tax
                                                                        allocation in bankruptcy

    29n9-0003         912912011   1800 TMBYRNE          0.4 $    192.00 Telephone conference with J. Libin re advice
                                                                        to client

    29n9-0003         912912011   1800 TM BYRNE          1 $     480.00 Research tax allocation issue

    29n9-0003         912912011   1800 TM BYRNE         0.9 $    432.00 Reading Tax Law Rev. article on parent-sub
                                                                        tax allocation in bankruptcy

-
    29n9-0003
     _  _-
       ...
                     912912011    1800 TM BYRNE          1 $    480.00 Review ca~ onta~allocation issues
    08-13555-mg    Doc 23314     Filed 12/14/11 Entered 12/14/11 13:07:17               Main Document
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                                           EXHIBIT E- 18


29nS-0003     912912011   1800 TMBYRNE               0.4 $   192.00 Review draft advice memo and related emalls
                                                                    with J. Ubin
29nS-0003     912912011   1800 JB UBIN               3.8 $ 3,040.00 ~~claim Issue and IRC


29n9-0003     912912011   1800 JB UBIN               1.7 $ 1,360.00 Drafting priority claim Issue memo.

29n 9-000 3   912912011   1800 JB UBIN               0.3 S    240.00 Telephone conference with T. Byrne
                                                                     (Sutherland) re: priority claim memo.

29ns-0003     912912011   1800 JB UBIN               1.6 S 1280.00 Reviewing cases relating to priority claim
                                                                       luue.

29n9-0003     913012011   1800 TMBYRNE               0.5 $    240.00 Editing draft advice memo re: allocation

29n9-0003     913012011   1800 TMBYRNE               0.4 S    192.00 Finalizing advice memo with J. Ubin

29nS-0003     9/3012011   1800 TMBYRNE               0.1 S     48.00 Review B. Brier memo re allocation priority

29n9-0003     913012011   1800 JB UBIN              2.3 $ 1840.00 Drafting memo re: PrioritY Claim issue.

29n9-0003     913012011   1800 JB UBIN              0.3 S    240.00 Discussing memo re: Priority Claim issue with
                                                                    T. Byrne.

                               BILLED TOTALS:    31 .4 $ 20 942.00
                               MINIS 20% HOLD BACK       -$4.1 88.40
                                                         $16753.60
08-13555-mg   Doc 23314   Filed 12/14/11 Entered 12/14/11 13:07:17   Main Document
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                                  EXHIBIT E-19
   08-13555-mg   Doc 23314        Filed 12/14/11 Entered 12/14/11 13:07:17                         Main Document
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                                            EXHIBIT E-20


129779-0013      9/19120111    1800isA BOOTH              1.81 S       504.00 IRnearch procedural requirements for filing
                                                                              ,an objection to NYC Department's proof of
                                                                               clafm (1 .8),

129779-0013      91191201 11   1800iSA BOOTH              3.11 S                I
                                                                       868.00 Review authority used by ~
                                                                               oblect to NYC Department's proof of claim - - - - 1
                                                                              1(3.1).

129779-0013      9/19120111    1800iSA BUU TH             0.81   S     224.00 IDraft email summarizing proof of claim
                                                                               resean:n to M. Simonetti (.8).

29779-0013       9121120 11                                            420.00

                                                                                question and procedural posture compared to
                                                                                " ....Pfttln (0.4); draft slide deck summarizing




129779-0013
                          II
                 9f2112011 1   18001MA. SIMONETTI
                                                    II    1.31   S
                                                                                ~-~
                                                                       650.00 1Review the Lehman        NY city            for
                                                                               rBYlIlonS (1 .3).


129779-0013      9122120111    1800lADAPPLEBY             1.61 S       480.00 1Draft slide deck summarizing NYC audit




129779-0013                                               0.1    S      30.00


                          I I                       I I                         iiiiiJiIiiiiiIt-=:.:.::and~~
129779-0013      9129120111    18001MA. SIMONEnl          1.21   s    600.00           r memo and suaaest revisions (1 .2).

129779-0013      9130120111    18001MA. SIMONETTI         1.21 S      600.00          ' ~na   NY city legal analYsis for
                                                                                        J (1 .2)


                                   IAIII F=n TOTALS: 1 22.41 S _ 8,310.00
                                   IMINUS 20% HOLDBACK         -$1 .662.00
                                                                     ~IIIUJ1M
                   08-13555-mg        Doc 23314       Filed 12/14/11 Entered 12/14/11 13:07:17             Main Document
                                                                Pg 42 of 47
                                                               EXHIBIT F-l




                             Sutherland :xpense S :H'eadsheet for Invoice No. 613380 for Matter No. 29779-0003
Invoice No.    Matter Number Date         Code      Name I 111 Quantity Rate       Amount Description                      I

        613380 29n9-0003         6/112011     1800 JB LlBIN         488     $0.10    $48.80 488 Copies at $.10 per copy.
Dated:                       to
August 2, 2011                  6/3012011

Sutherfand                                           BILLED TOTALS:     BILL:         $48.80
Expenses for                                                   I        J
June 2011                                                      I         I
                                 08-13555-mg   Doc 23314       Filed 12/14/11 Entered 12/14/11 13:07:17              Main Document
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                                                                        EXHIBIT F-2




                                         Sutherland Expense Spreadsheet for Invoice No. 613380 for Matter No. 29779-0013
 Invoice No.   Matter Number               Date     Code          Name           Amount                             Description
       613380 29n9-0013                   61312011     1800 MA SIMONETTI          $22.70 CabILocal Trans - Simonetti M. 05118/11     I
Dated:
August 2, 2011
                                                            BILLED TOTALS:         $22.70
Sutherland
Expenses for
June 2011
-       ~.-
               L_ ....   ___ .   __
                                08-13555-mg      Doc 23314      Filed 12/14/11 Entered 12/14/11 13:07:17         Main Document
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                                                                         EXHIBIT F-3



                    Sutherland Spreadsheet for Invoice No. 818400: Expenses for Matter 29779-0003
          Invoice No.       Matter No.       Date          Code         Name              Rate       Amount                  Description

~oo                     29n9-0003            6/3012011       1800 JB LlBIN                   $0.10     $18.10 CopyinQ -181 Copies at $.10 per copy
~d:
August 31, 2011
f----......-.
Sutherland                                                                          Total:             $18.10
Fees for JulY 2011
                          08-13555-mg      Doc 23314     Filed 12/14/11 Entered 12/14/11 13:07:17             Main Document
                                                                   Pg 45 of 47
                                                                  EXHIBIT F-4



~.
        Suthertand Spreadsheet for Invoice No. 616400: Expenses for Matter 29779-0013
    ,Invoice No.        Matter No.         Date     Code            Name            Amount                        DeacriPtion
                                                                                                                                             I
~oo                  29n9-0013         7/1212011     1800 JAFRIEDMAN                $23.00 Cab/Local Trans - Simonetti, M. - parking at
~:                                                                                         Lehman Brothers Holdings on 6/21111 - NYC Audit
August 31, 2011
                     29n9-0013         7/1212011     1800 JAFRIEDMAN                $23.00 Cab/Local Trans - Simonetti, M. - parking at
Sutherland                                                                                 the NYC meeting on 6/28111.
Fees for JUlY 2011
                                                          TOTAL                     $46.00
                      08-13555-mg     Doc 23314      Filed 12/14/11 Entered 12/14/11 13:07:17             Main Document
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                                                               EXHIBIT F-5



                                    Sutherland S .... __ heet for Invoice No. 617330 - Matter 28779-0003
         Invoice.       Matter.       Date       Code                 Name               Amount                  DescriPtIOn
617330                29n9-0003      81212011         4600 JB LlBIN                     $ 38.30 Copying - 383 copies at $.10 per copy.

Dated:                                                   BILLED TOTALS:      BilL:     $ 38.30
September 19,2011                                                                                                                        I

                                                                                                                                         I
SutheriancfEiDensee                                                                                                                      I

for AUGust 2011

Matter Name:
General
                    08-13555-mg      Doc 23314        Filed 12/14/11 Entered 12/14/11 13:07:17             Main Document
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                                                               EXHIBIT F-6




                               Sutheriand Fee Spreadsheet for Invoice No. 622210 for MaUer No. 29779-4013                         i

     Invoice.        Client MaUer'       Date            Code             Name           Amount                     Description
622210              29n9-0003              9/112011 1800            JB lIBIN          $         29.00 Copies - 290 copies at
                                           to                                                           $.10 per COPY
Dated:                                    9/3012011
November 4,_ 2011

Sutheriand
         for
September 2011


                                                                    Total Billed:      $        29.00
